              Case 3:22-cv-01274-LB Document 80 Filed 09/06/22 Page 1 of 2




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8                             UNITED STATES DISTRICT COURT
9                          NORTHERN DISTRICT OF CALIFORNIA
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11   JOHN WILLIAMS, ROBERT VOGEL, Case No.: 3:22-CV-01274
     SHEANNA ROGERS, MICHAEL
12   LOEB, JAQUELINE WATSON-
     BAKER, and HOUSING PROVIDERS
13   OF AMERICA, a 501(c)(4) non-profit AMICUS CURIAE’S CERTIFICATION OF
     Corporation,                       INTERESTED ENTITIES OR PERSON
14
           Plaintiff and Petitioners,
15
              v.                  Date: September 29, 2022
16                                Time: 9:30 a.m.
     ALAMEDA COUNTY, ALAMEDA      Dept.: Courtroom B, 15th Flr
17   COUNTY BOARD OF SUPERVISORS, Judge: Hon. Laurel Beeler
     CITY OF OAKLAND, OAKLAND
18   CITY COUNCIL, and DOES 1-10, Compl. Filed: March 1, 2022

19         Defendant and Respondents.

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                        Amicus Curiae’s Certification of Interested Entities or Persons
              Case 3:22-cv-01274-LB Document 80 Filed 09/06/22 Page 2 of 2




1          TO THE COURT, AND TO ALL PARTIES AND COUNSEL OF RECORD:
2           The undersigned is counsel of record for Amicus Curiae, East Bay Community Law
3    Center, and hereby submits the following disclosure statement pursuant to Civil Local
4    Rule 3-15:
5          Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, there is no
6    such interest to report.
7

8    Dated: September 6, 2022                   Respectfully Submitted,
9                                               EAST BAY COMMUNITY LAW CENTER
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11                                               /s/ Marc S. Janowitz
                                                Marc S. Janowitz
12                                              Attorney for Amicus Curiae
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                         Amicus Curiae’s Certification of Interested Entities or Persons
